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     The People of the State of Colorado in the interest of: C.C.M.,  and  The People of the State of Colorado, D.D.M., Petitioners  v.  D.J.M. Respondent No. 24SC301Supreme Court of Colorado, En BancAugust 19, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA1691
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petitions
      for Writ of Certiorari GRANTED.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;[REFRAMED]
      Whether the division erred in concluding that Father did not
      waive his right to a jury trial at adjudication when he did
      not appear for a bench trial that was set after Father's
      counsel had orally requested a jury trial and Father also
      failed to appear at a number of pretrial conferences.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DENIED
      AS TO ALL OTHER ISSUES.
    